Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 1 of 8 PageID 664




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   NUVASIVE, INC.,                        )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     )            Case No. 6:17-cv-2206-Orl-41GJK
                                          )
   ABSOLUTE MEDICAL, LLC, GREG            )
   SOUFLERIS, and DAVE HAWLEY,            )
                                          )
               Defendants.                )
   _______________________________________)

           NUVASIVE, INC.’S MOTION AND INCORPORATED MEMORANDUM OF
                  LAW FOR LEAVE TO AMEND ITS COMPLAINT
                               TO ADD DEFENDANTS

          Pursuant to Federal Rules of Civil Procedure 15(a) and 16(b), Plaintiff NuVasive, Inc.

   (“NuVasive”) respectfully moves this Court, for good cause shown, to permit it to amend its

   complaint to add Absolute Medical Systems, LLC (“AMS”) and Ryan Miller as defendants

   (collectively “the proposed Defendants”). The proposed amended complaint is attached as

   Exhibit A.

                                       INTRODUCTION

          This case is an effort by NuVasive to prevent the current Defendants and the proposed

   Defendants from unfairly competing with NuVasive. Defendant Absolute Medical, LLC

   (“Absolute Medical”) is an exclusive distributor of NuVasive’s products and has breached its

   contractual obligations to NuVasive.     Through discovery, which is still ongoing, and

   NuVasive’s independent investigation, it has become clear that Defendant, Greg Soufleris, the

   sole member, president, and registered agent of Absolute Medical, dissolved Absolute Medical
Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 2 of 8 PageID 665




   and formed AMS (and other entities) in an attempt to avoid Absolute Medical’s contractual

   obligations to NuVasive. Discovery and NuVasive’s investigation has also revealed Miller’s

   involvement in perpetrating the wrongful conduct alleged in NuVasive’s complaint.

          With respect to AMS, information obtained by NuVasive after it filed the original

   complaint reveals that AMS is Absolute Medical’s successor in interest. Soufleris formed

   AMS in November 2017—about three days after he attempted to terminate Absolute Medical’s

   agreement with NuVasive. Like Absolute Medical, AMS is a distributor of products used to

   treat spinal disease.   However, AMS distributes products manufactured by NuVasive’s

   competitor Alphatec Spine, Inc. (“Alphatec”). AMS is a single-member Florida limited

   liability company, which maintains its principal place of business at 8901 Lee Vista Blvd.,

   Unit 3003, Orlando, Florida. Soufleris is also AMS’s sole member, president, and registered

   agent. 1 The Lee Vista address is a condominium owned by Soufleris and appears to have been

   the previous address used by Absolute Medical before it was dissolved in February 2018.

   When Soufleris dissolved Absolute Medical, it also appears that he transferred a significant

   portion of Absolute Medical’s assets to AMS.         These facts and others revealed during

   discovery and by NuVasive’s independent investigation of this matter demonstrate that AMS

   is Absolute Medical’s successor in interest—AMS should be joined in this action to provide

   NuVasive with complete relief and to protect its interests.

          NuVasive has also learned that proposed Defendant Miller was a sales representative

   for Absolute Medical who now works as a sales representative for AMS. Miller currently sells


          1
           Soufleris and AMS’ employees who previously worked for Absolute Medical also use
   the same phone numbers and email addresses to conduct AMS’ business as they used to
   conduct Absolute Medical’s business.



                                                2
Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 3 of 8 PageID 666




   products on behalf of AMS that compete with NuVasive’s products. Miller sells the competing

   products to the same customers he sold NuVasive’s products. As such, as with Soufleris and

   Hawley, NuVasive should be permitted to amend its complaint to obtain relief against Miller.

                                            STANDARD

          When the court has established a specific deadline for amendments to the pleadings, a

   party must establish good cause for seeking leave to amend after that deadline under Federal

   Rule of Civil Procedure 16(b)(4). See Durham Comm. Cap. Corp. v. Select Portfolio Serv.,

   Inc., No. 3:14-cv-877-J-34PDB, 2017 WL 6406806, at *5 (M.D. Fla. Dec. 15, 2017). In

   determining whether good cause exists under Rule 16(b)(4), the court must consider whether

   the moving party acted diligently. Sosa v. Airprint Sys., Inc., 133 F.3d 1417, 1419 (11th Cir.

   1998). Diligence is evaluated by considering: (1) whether the plaintiff failed to ascertain facts

   prior to filing the complaint and to acquire information during the discovery period; (2)

   whether the information supporting the proposed amendment was available to the plaintiff;

   and (3) whether, even after acquiring the information arguably supporting amendment, the

   plaintiff delayed in seeking said amendment. See Kernal Records Oy v. Mosley, 794 F. Supp.

   2d 1355, 1368 (S.D. Fla. 2011); Auto-Owners Ins. Co. v. Ace Elec. Serv., Inc., 648 F. Supp. 2d

   1371, 1375 (M.D. Fla. 2009).

          If good cause exists under Rule 16(b)(4), the court must next consider whether

   amendment of the pleadings is proper under Federal Rule of Civil Procedure 15. 2 Rule 15(a)(2)



          2
           Federal Rule of Civil Procedure 21, which provides “[o]n motion or on its own, the
   court may at any time, on just terms, add or drop a party,” also governs a request to amend a
   pleading to add a party. However, since the analysis under Rule 21 is almost identical to that
   of Rule 15(a)(2), NuVasive limits its argument to Rule 15, but notes that Rule 21 would apply



                                                3
Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 4 of 8 PageID 667




   provides that a party may amend its pleadings by leave of court or by written consent of the

   adverse party, and the court should freely give leave to amend “when justice so requires.” In

   this way, Rule 15(a)(2) defines a court’s discretion and requires a court to provide a “justifying

   reason” for denying leave. See Foman v. Davis, 371 U.S. 178, 182 (1962). “Substantial

   reasons justifying a denial include ‘undue delay, bad faith, dilatory motive on the part of the

   movant, . . . undue prejudice to the opposing party by virtue of allowance of the amendment

   [and] futility of allowance of the amendment.’” See Laurie v. Ala. Court of Criminal Appeals,

   256 F.3d 1266, 1274 (11th Cir. 2001) (citing Foman, 371 U.S. at 182).

                                            ARGUMENT

          Although NuVasive seeks leave to amend its complaint after the deadline for

   amendments to pleadings set in this Court’s case management order (Doc. 46), NuVasive has

   acted diligently in seeking leave to amend and has satisfied Rule 16(b)(4)’s good cause

   requirement. First, and most significantly, NuVasive did not become aware of the need for the

   amendment until it began discovery in this case and the discovery revealed the extent to which

   AMS and Absolute Medical are related. Additionally, despite NuVasive’s timely discovery

   requests, Defendants and AMS (as a recipient of a nonparty subpoena duces tecum), have yet

   to produce documents responsive to NuVasive’s relevant discovery requests. Indeed, AMS’s

   inadequate subpoena responses are currently the subject of a motion to compel pending before

   the Court. (See Doc. 57). Discovery in this case has been fairly contentious and NuVasive has

   had difficulty obtaining relevant discovery from Defendants and nonparties alike. Because




   with equal force. See, e.g., Mora v. Nico’s Transp., Inc., No. 08-20184-CIV-GOLD/McAliley,
   2008 WL 11331726, at *1 (S.D. Fla. Oct. 1, 2008).



                                                 4
Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 5 of 8 PageID 668




   discovery in this case has been lacking, NuVasive has also diligently performed its own

   independent investigation, which has similarly revealed facts demonstrating the need to add

   AMS and Miller as defendants to fully and adequately resolve the harm being caused to

   NuVasive by the Defendants and proposed Defendants.

          Second, the deadline to amend pleadings was May 4, 2018. (Doc. 46). This motion,

   filed approximately four weeks after that deadline, is not excessively untimely. Upon learning

   of the need to add AMS and Miller as parties, NuVasive has sought leave to amend as soon as

   practicable. Therefore, NuVasive has acted diligently and has not delayed in seeking an

   amendment to the complaint. As such, NuVasive has demonstrated the requisite diligence to

   meet the requirements of Rule 16(b)(4).

          NuVasive has also satisfied Rule 15(a)(2). The proposed amendment to the complaint

   would serve the parties in efficiently and effectively resolving the claims raised by the

   complaint because it would ensure that NuVasive’s claims were fully adjudicated against the

   responsible parties and that the injunctive relief sought by NuVasive is effective in preventing

   irreparable harm. Although Soufleris dissolved Absolute Medical, it effectively continues to

   do business under the guise of AMS. If AMS is not joined in this action and similarly

   prohibited from violating Absolute Medical’s agreement with NuVasive, NuVasive will

   continue to be irreparably damaged and it will not be adequately protected by any injunctive

   relief granted. Defendants and proposed Defendants continue to unfairly compete with

   NuVasive, which is causing NuVasive immediate, continuing, and irreparable harm. In this

   ongoing dispute, it would serve all the parties’ interests to adjudicate and resolve NuVasive’s

   claims in one action.




                                                5
Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 6 of 8 PageID 669




           Additionally, the amendment would not be prejudicial to any party. It is clear from the

   discovery conducted thus far that AMS is simply an alter ego of Absolute Medical. And AMS

   is clearly aware of this action because Soufleris controls both Absolute Medical and AMS and

   AMS has been the recipient of nonparty discovery. Both AMS and Absolute Medical are

   represented by the same attorneys. Through Soufleris and its attorneys, AMS is apprised of

   the progress of this case and the discovery conducted thus far. Because the two entities are so

   closely intertwined and the defense of the two entities will likely be combined, there will be

   no or minimal need to extend any of the deadlines in this case to allow AMS to get up to speed.

           The addition of Miller as a defendant will also have a negligible effect on the progress

   of the case. The claims NuVasive desires to assert against Miller as a former employee of

   Absolute Medical and a current employee of AMS are identical to those asserted against

   Soufleris and Hawley. Miller will likely be represented by the same counsel who represent

   Soufleris and Hawley. The progress of this case would be minimally impeded by Miller’s

   addition.

           Because the addition of AMS and Miller would aid in the efficient and fair adjudication

   of this matter and because it would not be prejudicial to any party, Rule 15(a)(2) has been

   satisfied.

                                              CONCLUSION

           For the foregoing reasons, NuVasive respectfully requests that the Court grant its

   motion and give NuVasive leave to amend its complaint to add AMS and Miller as defendants.




                                                6
Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 7 of 8 PageID 670




                                 Local Rule 3.01(g) Certification

          Counsel for NuVasive has conferred with counsel for Defendants in good faith, and

   Defendants are opposed to the relief requested in this motion.

   Dated: June 5, 2018

                                        Respectfully submitted,

                                        /s/Diana N. Evans
                                        Diana N. Evans (Fla Bar No. 98945)
                                        Dnevans@bradley.com
                                        R. Craig Mayfield (Fla Bar No. 0429643)
                                        CMayfield@bradley.com
                                        BRADLEY ARANT BOULT CUMMINGS LLP
                                        2200 North Tampa Street, Suite 2200
                                        Tampa, FL 33602
                                        Phone: (813) 559-5500
                                        Fax: (813) 229-5946


                                        Christopher W. Cardwell, Esq. (Pro Hac Vice)
                                        M. Thomas McFarland, Esq. (Pro Hac Vice)
                                        GULLETT, SANFORD, ROBINSON & MARTIN,
                                        PLLC
                                        150 Third Avenue South, Suite 1700
                                        Nashville, TN 37201
                                        (615) 244-4994 (Telephone)
                                        (615) 256-6339 (Facsimile)
                                        ccardwell@gsrm.com
                                        tmcfarland@gsrm.com

                                        Attorneys for NuVasive, Inc.




                                               7
Case 6:17-cv-02206-CEM-GJK Document 64 Filed 06/05/18 Page 8 of 8 PageID 671




                                   CERTIFICATE OF SERVICE

           I hereby certify that on June 5, 2018, a copy of the foregoing was filed electronically.
   Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
   indicated on the electronic filing receipt. Parties may access this filing through the Court’s
   electronic filing system. The party or parties served are as follows:

   Bryan Busch
   Adams and Reese LLP
   3424 Peachtree Road, NE, Suite 1600
   Atlanta, GA 30326
   Phone: (470) 427-3702
   Fax: (470) 427-3676
   Bryan.busch@arlaw.com

   Laura H. Mirmelli
   Adams and Reese LLP
   3424 Peachtree Road, NE, Suite 1600
   Atlanta, GA 30326
   Phone: (470) 427-3716
   Fax: (404) 500-5975
   Laura.mirmelli@arlaw.com

   Chantal M. Pillay
   Adams and Reese LLP
   350 E. Las Olas Boulevard, Suite 1110
   Ft. Lauderdale, FL 33301
   Phone: (954) 541-5390
   Chantal.pillay@arlaw.com

   Louis M. Ursini
   Adams and Reese LLP
   101 E. Kennedy Boulevard, Suite 4000
   Tampa, FL 33602
   Phone: (813) 227-5536
   Fax: (813) 227-56-36
   Louis.ursini@arlaw.com

   Attorneys for Defendants

                                                            s/Diana Evans
                                                            Diana Evans
                                                            Attorney for NuVasive, Inc.




                                                   8
